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 1   LAW OFFICE OF EMILY DELEON
     EMILY DELEON, SBN 296416
 2   1318 K Street
 3   Bakersfield, CA 93301
     Tel: (661) 331-0207
 4   Email: emily@lawdeleon.com

 5   Attorney for:
     Daniel Rios
 6
                                    UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
      UNITED STATES OF AMERICA,                       Case No. 1:16-CR-00096-LJO-SKO
10
                        Plaintiff
11
      DANIEL RIOS,
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                        Defendants.
13
                                                      STIPULATION AND ORDER FOR
14                                                    AMENDED BRIEFING SCHEDULE
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16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT; HONORABLE DALE A.
     DROZD, UNITED STATES DISTRICT COURT JUDGE; AND JESSICA MASSEY,
17   ASSISTANT UNITED STATES ATTORNEY:
18
            COMES NOW Defendant, DANIEL RIOS, by and through his attorney of record,
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     EMILY DELEON, hereby submitting the following proposed order for an amended briefing
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     schedule regarding the Defendant’s request for Compassionate Release. Defense counsel has not
21
     yet received the signed authorization from Mr. Daniel Rios to request medical records from the
22
     BOP and has not received necessary information regarding Mr. Rios’ proposed release plan.
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     Defense counsel needs to conduct further investigation and research in order to adequately
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     represent Mr. Rios in this motion.
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26   IT IS SO STIPULATED.
                                                                Respectfully Submitted,
27   DATED: 06/19/20                                            /s/ Emily Deleon______
28                                                              EMILY DELON
                                                      1
     Case 1:16-cr-00096-AWI-SKO Document 154 Filed 06/22/20 Page 2 of 2


 1                                                          Attorney for Defendant
                                                            Daniel Rios
 2

 3
     DATED: 06/19/20                                        /s/Jessica Massey____
 4                                                          JESSICA MASSEY
                                                            Assistant U.S. Attorney
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                                            ORDER
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           IT IS SO ORDERED that the BRIEFING SCHEDULE is as follows:
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12         Defendant’s/Movant’s Supplemental Opening Brief July 7, 20220
13         Government/Respondent’s Opposition Brief Due July 20, 2020
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           Defendant’s/Movant’s Reply (if any) Due July 24, 2020
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16   IT IS SO ORDERED.
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        Dated:   June 19, 2020
18                                                UNITED STATES DISTRICT JUDGE

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